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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   MS. HOLMES’ NOTICE REGARDING
16                                             )   TESTIMONY OF SUREKHA
       v.                                      )   GANGAKHEDKAR
17                                             )
     ELIZABETH HOLMES and                      )
18   RAMESH “SUNNY” BALWANI,                   )   Hon. Edward J. Davila
                                               )
19          Defendants.                        )
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20                                             )
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     MS. HOLMES’ NOTICE REGARDING TESTIMONY OF SUREKHA GANGAKHEDKAR
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 1                                           MS. HOLMES’ NOTICE

 2          In order to give the Court and the government advance notice of likely issues concerning the

 3 testimony of Ms. Surekha Gangakhedkar, Ms. Holmes provides notice of the below matters and

 4 objections that she intends to raise before or during Ms. Gangakhedkar’s testimony. 1

 5          Ms. Holmes intends to object to admission of the following exhibits under Rules 401, 402, 403,

 6 802, and 805: Exhibits 855, 866, 972, 974, 1019, 1022, 1065, 3691, 3968, 5089, and 5096. See Saharia

 7 Decl. Exs. 1-11. Ms. Holmes notes that Exhibits 1065 and 3691 (Exs. 10-11), which are internal

 8 Theranos emails, are clear examples of the types of casual conversations that the Court acknowledged

 9 would not constitute a business record, see 9/15/21 Hr’g Tr. 870:21-25.

10          Ms. Holmes intends to object to the following testimony:

11         Testimony concerning Theranos employee Ian Gibbons’ death under Rules 401, 402, and
            403. Saharia Decl. Ex. 12 at 4 (9/13/21 MOI) 2; Ex. 855.
12

13         Testimony concerning the departure of Tina Noyes under Rules 401, 402, 403 and 602.
            Saharia Decl. Ex. 12 at 3.
14
           Speculative testimony that Ms. Holmes “knew everything” under Rules 403 and 602.
15          Saharia Decl. Ex. 12 at 3.
16
           Testimony concerning the reasons why Ms. Gangakhedkar took documents from Theranos
17          when she resigned, as well as any testimony about her expectation about a future
            investigation or criminal liability related to events that occurred during her time at the
18          company under Rules 401, 402, and 403. Saharia Decl. Ex. 12 at 7; Ex. 13 at 6 (5/27/2021
            MOI); Ex. 3 (Gov’t Trial Ex. 972: copies of emails taken from Theranos).
19

20         Testimony concerning the Court’s grant of immunity to Ms. Gangakhedkar or the
            immunity order’s provision excepting “a prosecution for perjury, false declaration, or
21          otherwise failing to comply with this order” from the grant of immunity under Rules 401,
            402, 403, and 608. See Dkt. 2021, Immunity Order. Ms. Holmes has advised the
22          government that she does not intend to attempt to impeach Ms. Gangakhedkar’s credibility
            on the basis of a grant of immunity. Saharia Decl. Ex. 14; see United States v. Wallace,
23          848 F.2d 1464, 1473-74 (9th Cir. 1988) (prohibiting prosecution’s use of truth telling
24          provision of plea agreement except “in response to attacks on the witness’s credibility
            because of the plea agreement”).
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            1
                Ms. Holmes reserves the right to object to additional testimony contemporaneously.
27          2
            The relevant portions of Ms. Gangakhedkar’s memoranda of interview have been highlighted
28 for the Court’s convenience.
   MS. HOLMES’ NOTICE REGARDING TESTIMONY OF SUREKHA GANGAKHEDKAR
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 1        Testimony regarding Ms. Gangakhedkar’s personal belief that “it was misleading to have
           people believe they were going to have their blood drawn by fingerstick” under Rules 401,
 2         402, 403, and 701. Saharia Decl. Ex. 12 at 6.
 3

 4                                                     /s/ Amy Mason Saharia
                                                       KEVIN DOWNEY
 5                                                     LANCE WADE
                                                       AMY MASON SAHARIA
 6                                                     KATHERINE TREFZ
                                                       Attorneys for Elizabeth Holmes
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     MS. HOLMES’ NOTICE REGARDING TESTIMONY OF SUREKHA GANGAKHEDKAR
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on September 16, 2021 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes

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